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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                            CASE NO. 20-82296-CIV-RUIZ/REINHART

   THERAPEUTICSMD, INC.,

          Plaintiff,

   vs.

   EVOFEM BIOSCIENCES, INC.,

         Defendant.
   _________________________________________/

                         DEFENDANT EVOFEM’S MOTION IN LIMINE

          Pursuant to the Court’s Order Setting Jury Trial Schedule (ECF No. 22) and the Court’s

   Order Amending Previous Scheduling Orders (ECF No. 129), Defendant Evofem Biosciences, Inc.

   (“Evofem”) submits this Motion in Limine to exclude the following evidence:

          1.       Testimony from Plaintiff TherapeuticsMD’s (“TXMD”) Witnesses on Purported

   Confusion;

          2.       Testimony from TXMD’s Witnesses on Alleged Witness Intimidation;

          3.       Evidence on Any TXMD Damages other than Corrective Advertising;

          4.       Reference to an Unrelated Employment Suit styled Kitchens-Beatty v. Evofem;

          5.       Testimony from TXMD in house counsel Samir Desai on Elements of Trademark

   Infringement;

          6.       Evidence or Argument on Punitive Damages and Equitable Claims.




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                                          INTRODUCTION
          Listing 43 witnesses and over 500 exhibits, TXMD seeks to overwhelm the jury with a

   mountain of irrelevant and inadmissible evidence in an unfounded attempt to overcome the

   absence of any underlying evidence of confusion. This should not be permitted.

          At bottom, there is no evidence of confusion—actual or likely—between the parties’

   prescription-only medications. Plaintiff’s IMVEXXY is prescribed to women in menopause to

   treat dyspareunia (painful sex) and is not indicated for use in females of reproductive potential.

   PHEXXI is a non-hormonal contraceptive gel prescribed to women of child-bearing age. There is

   no evidence that any doctor or pharmacist ever confused these prescription medications. Instead,

   Plaintiff is pursuing these claims as an improper attempt to undermine PHEXXI sales because

   PHEXXI competes with another TXMD contraceptive product—ANNOVERA.

          As already addressed in Evofem’s pending Motion for Summary Judgment (ECF 112) and

   Daubert Motion to Exclude Plaintiff’s Expert Witnesses (ECF 111), TXMD seeks to present

   irrelevant, hearsay evidence from nearly 30 witnesses about instances of fleeting confusion on the

   part of receptionists and other staff at physician’s offices. This evidence, in any form, should not

   be permitted. Nor should TXMD be allowed to bolster its unsupported claims for trademark

   infringement through other categories of improper evidence.

                                         LEGAL STANDARD

          A motion in limine is “any motion, whether made before or during trial, to exclude

   anticipated prejudicial evidence before the evidence is actually offered.” Luce v. U.S., 469 U.S.

   38, 40 n.2 (1984). “The real purpose of a Motion in Limine is to give the trial judge notice of the

   movant’s position so as to avoid the introduction of damaging evidence which may irretrievably

   effect the fairness of the trial.” Stewart v. Hooters of Am., Inc., No. 8:04-cv-40-T-17-MAP, 2007



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   WL 1752843, at *1 (M.D. Fla. June 18, 2007); PayCargo, LLC v. CargoSprint LLC, No. 1:19-cv-

   22995-LOUIS, 2021 WL 2434033, at *1 (S.D. Fla. June 14, 2021). 24, 2011);

          Testimony and other evidence that is irrelevant to the trial should be excluded. Evidence

   that is not relevant is not admissible. Fed. R. Evid. 402; Lane v. McKeithen, 423 F. App’x 903,

   905 (11th Cir. 2011); Fed. R. Evid. 401 (“Evidence is relevant if: (a) it has a tendency to make a

   fact more or less probable than it would be without the evidence; and (b) the fact is of consequence

   in determining the action.”). Even relevant evidence should be excluded if its probative value is

   substantially outweighed by a danger of unfair prejudice, confusing the issues, misleading the jury,

   undue delay, wasting time, or needlessly presenting cumulative evidence. Fed. R. Evid. 403;

   Royale Green Condo. Ass’n, Inc. v. Aspen Specialty Ins. Co., No. 07-CIV-21404, 2009 WL

   2208166, at *1 (S.D. Fla. July 24, 2009).

           “A district court is accorded a wide discretion in determining the admissibility of evidence

   under the Federal Rules. Assessing the probative value of [the proffered evidence], and weighing

   any factors counseling against admissibility is a matter first for the district court’s sound judgment

   under Rules 401 and 403[.]” Sprint/United Mgmt. Co. v. Mendelsohn, 552 U.S. 379, 384 (2008)

   (quoting United States v. Abel, 469 U.S. 45, 54 (1984)); see also U.S. v. McLean, 138 F.3d 1398,

   1403 (11th Cir. 1998) (“The … court has broad discretion to determine … admissibility.”)

          This is particularly true with respect to Rule 403 since it requires an ‘on-the-spot
          balancing of probative value and prejudice, potentially to exclude as unduly
          prejudicial some evidence that already has been found to be factually relevant.’ 1
          S. Childress & M. Davis, Federal Standards of Review § 4.02, p. 4–16 (3d
          ed.1999). Under this deferential standard, courts of appeals uphold Rule 403
          rulings unless the district court has abused its discretion. See Old Chief v. United
          States, 519 U.S. 172, 183 n.7 (1997).

   Mendelsohn, 552 U.S. at 384.




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                                              ARGUMENT

          TXMD’s should be precluded from presenting improper evidence, as detailed below.

       1. Testimony from TXMD’s Witnesses on Purported Confusion Should Be Precluded.

          Recognizing that the most important factor in determining whether there is a substantial

   likelihood of confusion is actual confusion, see Savannah College of Art and Design, Inc. v.

   Sportswear, Inc., 983 F.3d 1273, 1281 (11th Cir. 2020), TXMD seeks to make its case through

   improper hearsay testimony of its sales representatives and other witnesses of fleeting confusion,

   limited to the initial months following the launch of PHEXXI.              TXMD lists as exhibits

   approximately 19 hearsay declarations from sales representatives and other employees, as well as

   a few transcripts of sworn statements (taken without proper notice or attendance by Evofem’s

   counsel), and also includes 28 of these various representatives among the 43 total witnesses it

   seeks to call. 1 Presumably intending to drag out this testimony at trial, TXMD states in the Pretrial

   Stipulation that the time for its own case-in-chief will be 10-12 trial days.

          This evidence, however, is improper and irrelevant. The declarations and sworn statements

   constitute inadmissible hearsay. Offshore Aviation v. Transcon Lines, Inc., 831 F.2d 1013, 1017

   (11th Cir. 1987) (explaining an affidavit “would be inadmissible and, instead, a live witness or

   deposition would have to be used to present the evidence”). Additionally, the testimony itself is

   clearly inadmissible hearsay, and is also unreliable, proves absolutely nothing, and creates a

   significant risk of unfair prejudice, as TXMD seeks to confuse the issues, mislead the jury, delay,




   1
     The declarations and sworn statements were filed by TXMD as part of their opposition to
   Evofem’s summary judgment motion, see TXMD’s Statement of Material Facts in Response to
   Evofem’s Statement of Undisputed Facts, Exs. Y-II & PP, ECF 166-20, 166-21, 167-1 to 167-9,
   167-16. The witnesses are listed as numbers 5-36 on the TXMD’s Witness list (attached hereto as
   Exhibit “A”), although other TXMD witnesses, including Samir Desai its Rule 30(b)(6)
   representative, may also attempt to present this testimony.
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   and waste time – by presenting 43 witnesses and more than 500 exhibits, over the course of

   unnecessarily extended trial days. No volume of irrelevant hearsay evidence, however, can

   overcome the utter lack of evidence of actual confusion. This improper evidence should be

   excluded in any form – either by declaration, sworn statement, or testimony.

              a. The Declarations and Testimony are Inadmissible Hearsay.

          Evofem’s pending Motion for Summary Judgment addresses in detail the grounds for

   exclusion of this hearsay evidence. (See ECF 112, at 17-20 (pp. 12-14); ECF 181, 8-12). As

   explained, the purported evidence consists of testimony by TXMD sales representatives—who are

   not themselves confused in any way—about passing comments made to them by others who the

   sales reps felt were confused or, even more attenuated, who seemed to claim confusion by yet

   another person. Thus, a TXMD sales representative reports on a conversation with a medical

   assistant or receptionist at a physician’s office, who in some limited instances thought a physician

   in the office was confused. The witnesses uniformly admitted at deposition that (i) they had no

   evidence either medication was ever mis-prescribed, and (ii) the purported confusion was

   immediately clarified, did not continue, and occurred in precious few instances given the nearly

   50 sales calls each sales representative makes on a weekly basis (more than 3,500 calls per year

   for each sales rep).

          This evidence, in any form, is inadmissible hearsay—and, in effect, double hearsay, or a

   hearsay statement within a hearsay statement. Hearsay “is a statement, other than one made by

   the declarant while testifying at the trial or hearing, offered in evidence to prove the truth of the

   matter asserted.” Fed. R. Evid. 801(c). “[H]earsay statements” are inherently “untrustworthy[].”

   T. Harris Young & Assoc. v. Marquette Elecs, 931 F.2d 816, 826-27 (11th Cir. 1991). “Hearsay

   presents substantial risks of insincerity and faulty narration, memory, and perception.” Id. This is



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   especially the case here, where TXMD solicited this evidence by directing its sales

   representatives—after the litigation was filed—to report instances “where they believe[d]

   IMVEXXY and PHEXXI were confused” by prescribers. See ECF 113, ¶ 41 (unsealed at ECF

   125). As such, these declarations are nothing but an after-the-fact attempt to generate non-existent

   confusion that TXMD should have investigated before it filed this litigation (but did not).

          The Eleventh Circuit holds that it is improper to admit an employee’s testimony concerning

   purported third-party confusion because it serves “as evidence of the truth of the matters asserted—

   a classic hearsay purpose.” Angel Flight of Georgia, Inc. v. Angel Flight Am., Inc., 522 F.3d 1200,

   1206 (11th Cir. 2008). The Eleventh Circuit also affirmed the Southern District of Florida’s

   decision to disregard “hearsay evidence regarding employee confusion,” which was “not

   persuasive evidence of actual confusion” in Fla. Int’l Univ. Bd. Of Trs., 830 F. 3d at 1264-65. 2

          Just recently, in Unisource Discovery, Inc. v. Unisource Discovery, LLC, the Court

   similarly excluded hearsay, where the plaintiff proffered as evidence of actual confusion a

   narration of phone calls and emails that it received from its customers regarding lost orders. 2022

   WL 457843, *6 (S.D. Fla. Jan. 10, 2022), aff’d and adopted 2022 WL 580443 (S.D. Fla. Feb. 25,

   2022)). The Court sustained the hearsay objection, ruling that it was hearsay (the customer’s

   complaint) within hearsay (the employee’s written narration). Id. According to the Court,

   “declarants may describe own state of mind regarding confusion in trademark cases but, cannot

   describe another’s state of mind.”      Id. (quoting Ocean Bio-Chem, Inc. v. Turner Network

   Television, Inc., 741 F. Supp. 1546, 1559 (S.D. Fla. 1990)); see also Zaslow v. Louisville Ladder,



   2
     See also Michael Caruso & Co. v. Estefan Enters., 994 F. Supp. 1454, 1462 n.3 (S.D. Fla. 1998)
   (noting that portion of plaintiff’s memorandum that indicated that a caller mistook plaintiff’s office
   for defendant’s restaurant was inadmissible hearsay); Ocean Bio-Chem, Inc. v. Turner Network
   Television, Inc., 741 F. Supp. 1546, 1559 n.7 (S.D. Fla. 1990) (affidavit of an employee concerning
   a misdirected phone call was double hearsay and inadmissible as evidence of actual confusion).
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   Inc., Case No. 18-80091-CIV, 2020 WL 11420573, at *3 (S.D. Fla. Feb. 7, 2020) (holding

   witnesses may not testify to the subjective state of mind of another).

          Statements of sales representatives taken by TXMD that TXMD did not notice for

   deposition and that Evofem’s counsel therefore did not attend are also inadmissible. See ECF 167-

   16. After Evofem declined to take cumulative depositions of certain of the sales representatives

   and cancelled depositions, TXMD apparently proceeded to unilaterally take sworn statements from

   these witnesses, without serving notices or cross-notices, and without the presence of Evofem’s

   counsel. These sworn statements are not “depositions” within the meaning of Rule 30(b), which

   requires a party seeking to depose a person to notice the deposition. Hence, they cannot be used at

   trial under Rule 32. See Fed. R. Civ. P. 32 (a deposition may only be used against a party if “the

   party was present . . . or had reasonable notice of it”); see also, Celebration Source, Inc. v. AGA

   Enterprises, LLC, 2018 WL 10799298, *4 (S.D. Fla. Aug. 22, 2018) (barring the use of depositions

   at trial except for impeachment purposes where Defendant was not present or given notice about

   the depositions). Indeed, a party cannot unilaterally proceed with a deposition once canceled if it

   has not cross-noticed the deposition. HGR Constr., Inc. v. Hanover Ins. Co., 2020 WL 12182457

   (M.D. Fla. March 30, 2020) (“HGR could have cross-noticed the deposition once it was set by

   Hanover, thereby preventing Hanover from unilaterally canceling the deposition”). Moreover, a

   party setting a deposition “is under no obligation to see it through.” Id. Evofem was entitled to

   cancel the depositions it set. Statements taken by TXMD without a cross-notice and outside the

   presence of Evofem’s counsel are inadmissible hearsay.

              b. The Evidence Has No Probative Value and Presents a Danger of Confusing the
                 Issues and Misleading the Jury.

          The Court may exclude evidence if “its probative value is substantially outweighed by a

   danger of . . . confusing the issues [or] misleading the jury.” Fed. R. Evid. 403. The evidence in

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   this case has no probative value, and is irrelevant. Again, as the summary judgment briefing

   details, the evidence is irrelevant to the extent it refers to alleged confusion on the part of staff

   members and receptionists, who are not physicians or prescribers. Just as fundamentally, the

   evidence reflects what is, at most, momentary or “fleeting confusion.”

          To the extent any of the sales representatives’ allegations involve prescribers at all, they

   reflect at best momentary or “fleeting confusion.” Fleeting confusion is momentary, short-lived

   confusion involving a mix-up of names (e.g., a slip of the tongue). See Future Proof Brands, LLC

   v. Molson Coors Bev. Co., 982 F.3d 280, 297 (5th Cir. 2020) (fleeting confusion between “Vizzy”

   and “Brizzy”); Atl. Nat’l Bank v. Atl. So. Bank, 2010 WL 5067416 (S.D. Ga. July 29, 2010)

   (“allegations of fleeting confusion” in bank names “are not sufficient to make out a claim”). This

   kind of fleeting or momentary confusion is not sufficient to establish a likelihood of confusion.

   See Future Proof, 982 F.3d at 297.

          TXMD’s declarations and deposition testimony are like those in Primepoint v. PrimePay,

   where a party offered employees to testify, but only about “momentary” confusion. 2009 U.S. Dist.

   LEXIS 55422 (D.N.J. June 30, 2009). For example, “[a] prospective client quickly glanced at a

   brochure that was sitting in someone else’s lap, and thinking back on her contact with another

   payroll company with a similar name, she [] conflated the two. Her mistake was quickly and easily

   corrected.” Id. at *35. “Despite the evidence of momentary and fleeting confusion, [there was] no

   evidence that a customer actually purchased, or even seriously considered purchasing, [the other

   party’s] services on the mistaken belief [as to source or affiliation].” Id. at *36. As such, the court

   found no likelihood of confusion. Id. Here, TXMD has offered no evidence that anyone ever

   prescribed – or ever seriously considered prescribing – PHEXXI instead of IMVEXXY.




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          Without any probative value, the admission of this evidence can only create a significant

   danger that these declarations and testimony will confuse and mislead the jury. See Fed. R. Evid.

   403 (“The court may exclude relevant evidence if its probative value is substantially outweighed

   by a danger of one or more of the following: unfair prejudice, confusing the issues, misleading the

   jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”); Royale Green

   Condo. Ass’n, Inc. v. Aspen Specialty Ins. Co., No. 07-CIV-21404, 2009 WL 2208166, at *1 (S.D.

   Fla. July 24, 2009). That is especially the case here, where TXMD seeks to overcome the utter

   absence of actual confusion evidence on the part of prescribers by presenting days of irrelevant,

   hearsay evidence from more than two-dozen witnesses. 3

          That is exactly what Rule 403 is designed to prevent. See U.S. v. Flitcraft, 803 F.2d 184,

   185–86 (5th Cir. 1986) (trial judge properly excluded documentary evidence, on the basis that it

   was cumulative of other evidence and was likely to confuse the jury); Ross v. Buckeye Cellulose

   Corp., 980 F.2d 648, 655–56 (11th Cir. 1993) (trial court did not abuse its discretion by excluding

   testimony, on the basis that it would have unduly delayed the trial and been cumulative of other

   evidence); Evans v. Dugger, 908 F.2d 801, 809 (11th Cir. 1990) (trial court did not abuse its

   discretion by redacting portions of documentary evidence, as irrelevant, confusing, cumulative,

   and unduly prejudicial); Bowe v. Pub. Storage, 1:14-CV-21559-UU, 2015 WL 10857339, at *4

   (S.D. Fla. June 2, 2015) (excluding testimony for being cumulative, misleading, and unfairly

   prejudicial where expert planned to discuss various examples of the same scenario).




   3
    Presenting over two-dozen witnesses on the same issue is also cumulative. Magistrate Judge
   Reinhart denied TXMD’s requests for additional depositions, stating “you are not going to call 20
   witnesses at trial. Judge Ruiz is not going to let you call 20 witnesses. So I am not going to give
   you 20 depositions because it’s cumulative. There comes a point of diminishing returns.” (8/23/22
   Hr’g Tr. at 24; attached as Exhibit “B”.) At most, the Court should only allow TXMD to call a
   couple actual harm witnesses and preclude the testimony of the remaining witnesses as cumulative.
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      2. Testimony from TXMD’s Witnesses on Alleged Witness “Tampering” or
         “Intimidation” Should Be Barred.

          While TXMD intends to parade two-dozen sales representatives before the jury to speak to

   hearsay conversations, its witness list confirms that it does not intend to bring any of the allegedly

   confused prescribers to testify at trial and be cross-examined. This is not surprising since the only

   actual prescriber that Evofem contacted stated unequivocally that he was never confused. See ECF

   113, ¶ 39 (unsealed at ECF 125). Instead, TXMD apparently seeks to argue that the glaring

   absence of these witnesses results from “witness tampering” or “witness intimidation” by Evofem.

   For example, it lists an improper hearsay declaration from its own 30(b)(6) witness Samir Desai,

   who complains a physician contacted him, after speaking to Evofem, to demand that TXMD

   withdraw a declaration falsely stating that the physician was confused. ECF 80 at 3. More

   incredibly, TXMD points to that physicians’ resulting frustration with TXMD as purported

   evidence of damage to its trademark.

          Not only is any such damage self-inflicted – and the evidence obviously hearsay – but the

   Court has already specifically addressed this issue and rejected TXMD’s suggestion that Evofem

   in any way harassed witnesses. (ECF No. 87) Specifically, the Court held (emphasis added):

          Since the individuals Defendant contacted about the declarations were those
          identified in the declarations as people with knowledge of the information,
          Defendant’s communications with them did not constitute a violation of the
          confidentiality agreement. I further find that defense counsel’s communications
          with the named doctors and their staff do not amount to harassment.

          TXMD’s attempt to present this evidence ignores that ruling, as well as the applicable law.

   See generally United States v. Veal, 153 F.3d 1233, 1245 (11th Cir. 1998) (holding that witness

   tampering consists of using intimidation, physical force, threatens, bribes or misleading conduct

   to prevent communication to a court). It cannot be considered witness intimidation to contact



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   witnesses, as Evofem did, to obtain accurate first-hand testimony on the issue of confusion, rather

   than relying on unreliable, hearsay statements from the Plaintiff’s sales agents.

          As well, any evidence or argument related to non-existent “witness tampering” or “witness

   intimidation,” which has already been rejected by the Court, should also be excluded under Federal

   Rule of Evidence 403, as the danger of unfair prejudice substantially outweighs its non-existent

   probative value.

       3. Evidence on Any Damages other than Corrective Advertising

          TXMD seeks equitable relief in this case, including entry of an injunction and cancellation

   of the IMVEXXI mark. Those are issues for the Court to decide—not the jury (as detailed in

   Evofem’s Motion to Strike Plaintiff’s Claims for Punitive Damages and Bifurcate Equitable

   Claims, filed herewith).

          As to damages, TXMD has confirmed that the only damages it seeks in this case are for

   corrective advertising, and that it does not seek any damages for lost sales. 4 Accordingly, as a

   threshold matter, consistent with that position, TXMD should be precluded from presenting any

   evidence or argument for damages other than corrective advertising. It should be precluded from

   seeking to present any evidence of its lost sales, of Evofem’s sales, or any other types of categories

   of damages beyond corrective advertising.

          Relatedly, TXMD should not be permitted to introduce evidence of the Defendant’s total

   marketing expenditures overall or for any geographic area. Corrective advertising, which, again,




   4
     See DTE 73, TXMD’s First Supplemental Response to Evofem’s First Set of Interrogatories, 6,
   8, 12-15 and 18; Desai Dep. Tr. 267:6-11, 105:8-17 (ECF 126-13); Kristen Landon Dep. Tr.,
   122:7-11 (ECF 126-14) (TXMD’s counsel states: “… I think there’s a reason why the parties
   agreed that we really didn’t need to produce her sales and that is because we’re not pursuing lost
   sales in this case. So our sales are somewhat irrelevant.”); ECF 111-15 (showing no lost sales of
   IMVEXXY since PHEXXI launch).
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   are the only damages it seeks in this case, cannot be estimated based on the Defendant’s marketing

   expenditures. Pandora Jewelers 1995, Inc. v. Pandora Jewelry LLC, 2011 WL 2295269, *4 (S.D.

   Fla. June 8, 2011). In Pandora Jewelers, the Court excluded expert testimony in which the

   damages calculation was based on the Defendant’s marketing expenditures, and held that “[t]o

   establish reasonable damages for corrective damages, the Eleventh Circuit has accepted testimony

   from a plaintiff’s corporate officer regarding estimated costs for concrete and specified forms of

   corrective advertising.” Id. As such, evidence of the Defendant’s marketing expenditures is

   irrelevant and must be excluded.

          Additionally, TXMD should be precluded from presenting evidence of harm that is vague,

   speculative, or unsupported. As argued at length in Evofem’s Motion for Summary Judgment

   [ECF 112, at 22-23 (pp. 17-18)] and Reply [ECF 181, at 12-13], and its Daubert Motion [ECF

   111, at 19-20] and Reply [ECF 183, at 14-15], a trademark infringement award, even for corrective

   advertising, must be based on proof of actual damages. Indeed, “[c]ourts routinely decline to

   award corrective advertising damages in the absence of evidence that the infringed mark lost any

   value” because “[a]n award of . . . ‘corrective advertising’ costs must be tied to ‘non-speculative

   evidence’ that the goodwill associated with the plaintiff’s mark has actually been diminished by

   the defendant’s conduct.” Thrive Nat. Care, Inc. v. Thrive Causemetrics, Inc., 2021 WL 4813257,

   *7 (C.D. Cal. Oct. 6, 2021); see also Pandora Jewelers 1995, Inc., 2011 WL 2295269 at *4.

   (excluding expert testimony because it “would not provide any calculation of concrete, specific

   forms of corrective advertising necessary to correct alleged customer confusion.”).

          TXMD, however, seeks to short-circuit the required proof, instead pointing to vague and

   generalized allegations that it has suffered “harm” in the form of:

          (i) diminution in the distinctiveness or strength of the IMVEXXY mark; (ii)
          confusion among HCPs; (iii) confusion among consumers; (iv) conflation of

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          PHEXXI’s negative attributes with IMVEXXY and thereby the creation of a false
          association; (v) loss of control of its branding message; (vi) unauthorized use of
          IMVEXXY and its associated goodwill by Evofem sale’s representatives to gain
          access with HCP’s; and (vii) interference with limited sales time to dispel confusion
          among HCPs.

   See ECF 149 & 166-2, ¶ 84.

          As already addressed in Evofem’s Daubert Motion [ECF 111, at 19-20], these categories

   of “damages” are speculative and should be excluded by the Court. Rule 702 of the Federal Rules

   of Evidence governs the admissibility of expert testimony. Fed. R. Evid. 702. District courts act

   as gatekeepers in determining whether to admit expert testimony. Daubert v. Merrell Dow Pharm.,

   Inc., 509 U.S. 579, 597 (1993). In serving as a gatekeeper, the district courts “ensure that

   speculative, unreliable expert testimony does not reach the jury.” McCorvey v. Baxter Healthcare

   Corp., 298 F.3d 1253, 1257 (11th Cir. 2002).

          With respect to lay witnesses, Rule 602 provides that “[a] witness may testify to a matter

   only if evidence is introduced sufficient to support a finding that the witness has personal

   knowledge of the matter.” Fed. R. Evid. 602. Damages that might have been incurred in

   hypothetical circumstances are inherently speculative and, by definition, are not based upon a

   witness’s personal knowledge. Courts require “more evidence than the self-serving speculation of

   the plaintiff to support an award of damages.” Keener v. Sizzler Family Steak Houses, 597 F.2d

   453, 457 (5th Cir. 1979). Thus, this evidence should be excluded as purely speculative. See, e.g.,

   Dodgson v. First Advantage Background Services Corp., No. 16-cv-1894-ODE, 2019 WL

   2306131, at *6 (N.D. Ga. March 7, 2019) (excluding speculative evidence on damages); Salinero

   v. Johnson and Johnson, No. 18-cv-23643-UU, 2019 WL 7753438, at *9 (S.D. Fla. Sept. 25, 2019)

   (excluding witness testimony regarding what “pelvic surgeons know” as speculative); Flir

   Systems, Inc. v. Fluke Corp., No. 10-cv-00971-HU, 2012 WL 13054267, at *1 (D. Or. Nov. 29,



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   2012) (excluding damages testimony based on hearsay, which “makes the testimony

   speculative.”); Dreyer v. Ryder Automotive Carrier Group, Inc., 367 F. Supp. 2d 413, 448

   (W.D.N.Y. 2005) (expert opinion excluded where proposed testimony on the causal relationship

   between use of medication and injuries was speculative).

           Any evidence or argument on these points is confusing, misleading, and barely (if at all)

   probative, and fails to provide a basis for TXMD’s claimed corrective damages in any event. See

   Fed. R. Evid. 403 (“The court may exclude relevant evidence if its probative value is substantially

   outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

   misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence”);

   Bowe v. Pub. Storage, 1:14-CV-21559-UU, 2015 WL 10857339, at *4 (S.D. Fla. June 2, 2015)

   (excluding testimony under Rule 403 because it is “presented as expert analysis where [it is]

   instead hypothetical musings not grounded in actual facts or based on any specific methodology,

   and appear to be [the expert’s] self-directed Socratic inquiry.”).

       The Court should prohibit evidence or argument on these points.

       4. References to Kitchens-Beatty v. Evofem Biosciences, Inc., an Unrelated Litigation,
          Should be Precluded.

           TXMD may attempt to refer to an unrelated employment lawsuit, Kitchens-Beatty v.

   Evofem Biosciences, Inc., which is pending in the Superior Court of San Diego County, California,

   Case No. 37-2020-00014878. (See Pelletier Dep. 9:13-10:15.) TXMD should be prohibited from

   referring to this lawsuit at trial, as it is irrelevant to the claims and defenses in this action. See Fed.

   R. Evid. 401. The Kitchens-Beatty case involves a sexual discrimination and sexual harassment

   claim relating to a former Evofem employee, and it has no bearing on any of the issues in this case.

   Even if there were some tangential relevance (which there is not), the danger of confusing or

   unfairly prejudicing the jury against Evofem far outweighs any probative value this evidence may


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   have. See Fed. R. Evid. 403. The jury may develop an unfavorable view of Evofem due to the

   unrelated employment discrimination case—and not based on any of its actions at issue in this

   case. Any reference to Kitchens-Beatty must be prohibited.

          References to or presentation of irrelevant evidence related to that litigation would be an

   impermissible attempt to prove that Evofem has a propensity for litigation, or (without basis) that

   Evofem is subject to other pending claims. This is improper. See Fed. R. Evid. 404(b) (“Evidence

   of a crime, wrong, or other act is not admissible to prove a person’s character in order to show that

   on a particular occasion the person acted in accordance with the character.”); Palmer v. Bd. of

   Regents of Univ. Sys. of Ga., 208 F.3d 969, 973 (11th Cir. 2000) (holding trial court properly

   excluded evidence of the existence of other lawsuits against defendant); Illano v. H & R Block E.

   Enters., No. 09-22531-CIV, 2011 WL 1897431, at *1 (S.D. Fla. May 18, 2011) (excluding

   introduction of evidence of other lawsuits against defendant, and noting “[s]uch evidence has no

   likelihood of proving any material facts relevant to Plaintiff's claims”).

          The evidence is also improper and unfairly prejudicial. “Evidence is ‘unfairly prejudicial’

   if it has ‘an undue tendency to suggest decision on an improper basis, commonly, though not

   necessarily, an emotional one’; ‘appeals to the jury’s sympathies, arouses its sense of horror,

   provokes its instinct to punish’; or ‘may cause a jury to base its decision on something other than

   the established propositions of the case.’” Quagliarello v. Dewees, No. 09-4870, 2011 WL 203183,

   at *2 (E.D. Pa. Aug. 4, 2011) (quoting Carter v. Hewitt, 617 F.2d 961, 972 (3d Cir. 1980)); see

   also United States v. Perry, No. 8:09-cr-78-T-33EAJ, 2009 WL 1952776, at *3 (M.D. Fla. July 6,

   2009) (Rule 403 permits the exclusion of evidence, even if relevant, if its probative value is

   substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading

   the jury,” and the Court “has broad discretion in making decisions under Rule 403’s probative-



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   prejudice balancing analysis.”) The exclusion of unfairly prejudicial evidence protects the jury

   from drawing improper inferences and basing its decision on factors other than the issues properly

   before it. Quagliarello, 2011 WL 203183, at *2.

          The present litigation, moreover, should not be sidetracked or confused by unrelated issues

   in separate litigation involving other parties. See United States v. Briston, 192 Fed. Appx. 84, 89

   (3d Cir. 2006) (affirming district court’s exclusion of irrelevant and highly prejudicial evidence

   that “would have had the potential to confuse the jury and sidetrack the proceedings…[and] would

   have paved the way for a significant detour into allegations with a nexus to the charges that was

   tangential at best”). The district court in Royal Bahamian Ass’n, Inc. v. QBE Ins. Corp., 745 F.

   Supp. 2d 1380, 1384 (S.D. Fla. 2010), pointed out the “real danger” in allowing a plaintiff to

   introduce prior claims and actions against a defendant: forcing the defendant to retry all of the

   other claims. The district court noted that not only would the utterly time-consuming endeavor of

   a series of mini-trials on other issues from other actions waste the resources of the parties and the

   court, but it would also create further undue prejudice for the defendant. Id. at 1384-85.

          For these reasons, any reference to or evidence of this unrelated litigation should be

   precluded.

      5. Testimony of Samir Desai on the Elements of Trademark Infringement Should Not
         Be Permitted.

          TXMD may attempt to have its in house counsel Samir Desai testify regarding the elements

   of trademark infringement. The Court should bar any such testimony as it calls for legal

   conclusions and because he actually refused to answer such questions during the deposition based

   on attorney client and work product privilege. In his deposition (excerpts attached as Exhibit “C”),

   Desai refused to answer questions on the basis that the information sought was privileged on the

   following topics:

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          •   strength of the IMVEXXY mark (232:18-234:12),

          •   whether Evofem acted willfully or intentionally (234:14-236:01, 264:01-265:14),

          •   facts that would render the PHEXXI mark strong or weak (239:12-240:10),

          •   whether the marks are similar (243:19-247:03),

          •   facts regarding the similarity of sales methods (247:04-247:14),

          •   facts regarding the similarity of advertising methods (247:16-248:06),

          •   facts regarding actual confusion (248:08-248:13),

          •   any facts supporting the corrective advertising claim (267:06 -267:22)

   Because Desai refused to testify to these topics at deposition on the basis of attorney client

   privilege, he cannot reverse course and testify at trial on these topics. The law is clear that “the

   attorney client privilege was intended as a shield, not a sword.” Baratta v. Homeland Housewares,

   LLC, 242 F.R.D. 641, 643 (S.D. Fla. 2007) (quoting GAB Business Services, Inc. v. Syndicate 627,

   809 F.2d 755, 762 (11th Cir. 2007)). “In other words, a defendant may not use the privilege to

   prejudice his opponent’s case or to disclose some selected communications for self-serving

   purposes.” Id. See also Johnson v. 27th Ave. Caraf, Inc., 9 F.4th 1300, 1313 (11th Cir. 2021)

   (holding a party “may not use the privilege to prejudice his opponent’s case by preventing the

   disclosure of damaging communications while disclosing some selected communications for self-

   serving purposes”) (internal quotations omitted); Wehling v. Columbia Broadcasting System, 608

   F.2d 1084, 1086 (5th Cir. 1979) (plaintiff cannot invoke Fifth Amendment privilege and refuse to

   answer deposition questions relevant to the Defendant’s affirmative defense).

          Here, Desai cannot be permitted to evade answering questions relevant to the heart of the

   lawsuit based on attorney client privilege, depriving Evofem of its opportunity to discover relevant

   factual information, and then “partially waiving” his attorney client privilege by testifying to only


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   the most useful facts at trial. This would entail using attorney client privilege as a sword, rather

   than a shield, which is prohibited by law.

      6. Evidence or Argument on Punitive Damages or Equitable Claims

          In accordance with Evofem’s Motion to Strike Plaintiff’s Claim for Punitive Damages and

   Bifurcate Equitable Claims, all evidence and argument relating to punitive damages and equitable

   claims should be excluded. Because TXMD has not asserted any claims for which punitive

   damages are recoverable, evidence supporting its purported claim for punitive damages, ECF No.

   37 at 27-28, H(iii), should be excluded. It is well established that “[p]unitive damages are not

   available under the Lanham Act.” Victoria's Cyber Secret Ltd. P'ship v. V Secret Catalogue, Inc.,

   161 F.Supp.2d 1339, 1356 (S.D. Fla. 2001) (citing Getty Petroleum Corp. v. Bartco Petroleum

   Corp., 858 F.2d 103 (2d Cir. 1988)); see also Babbit Electronics, Inc. v. Dynascan Corp., 38 F.3d

   1161, 1183 (11th Cir. 1994) (enhanced damages under 15 U.S.C. § 1117 “may not be punitive”).

   Under this bedrock, black-letter law, TXMD plainly cannot seek punitive damages under Counts

   I and II of the Amended Complaint. Recovery of punitive damages is also not permitted under the

   Florida Deceptive and Unfair Trade Practices Act. See Marjam Supply Co. of Fla., LLC v. Pliteq,

   Inc., 2018 WL 4932871, at *4 (S.D. Fla. Apr. 23, 2018).

          TXMD cannot recover punitive damages for its remaining claims, which seek only

   equitable relief. In Counts V and VI, TXMD is not seeking any monetary damages at all; rather,

   TXMD seeks declarations from the Court cancelling Evofem’s registered trademark pursuant to

   15 U.S.C. § 1119. ECF No. 37 ¶¶ 90, 122. Even if TXMD were seeking damages in these claims,

   it could not recover punitive damages under the Lanham Act, as discussed above. See, e.g.,

   Victoria's Cyber Secret, 161 F.Supp.2d at 1356. This leaves only Count IV – TXMD’s claim for

   common law trademark infringement. ECF No. 37 ¶¶ 76-82. However, once again, TXMD has



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   not asserted a claim for any damages in this count. Indeed, TXMD seeks only injunctive relief

   and further asserts that it “does not have an adequate remedy at law.” Id. at ¶ 82. TXMD cannot

   recover punitive damages that it did not adequately plead in its complaint. Landsman v. City of

   Vero Beach, 2015 WL 10960951 at *3 (S.D. Fla. Oct. 21, 2015) (granting motion to strike, “or in

   the alternative, motion in limine to exclude evidence of special damages” where damages claim in

   complaint failed to satisfy Rule 9(g)). TXMD plainly is not seeking punitive damages for Count

   IV.

          As further discussed in Evofem’s Motion to Strike Plaintiff’s Claim for Punitive Damages

   and Bifurcate Equitable Claims, at minimum, the Court should bifurcate the trial, with the amount

   of punitive damages to be determined in a second phase of the trial. If the Court adopts this

   approach, evidence relating to Evofem’s financial net worth and argument relating to punitive

   damages should be excluded during the first phase of the trial. See Zarfaaty v. Garden Fresh

   Restaurant Corp., 2019 WL 5617937, *2 (S.D. Fla. Oct. 31, 2019) (“Evidence of the valuation of

   Defendant is not relevant to Defendant’s liability, and Defendant may be prejudiced by the

   introduction of evidence with respect to punitive damages before the determination of liability is

   made”).

          Likewise, evidence pertaining to the cancellation claims, counterclaims and defenses

   should be excluded during the first phase. These claims are equitable and should be decided in a

   subsequent nonjury phase. See Evofem’s Motion to Bifurcate Strike Plaintiff’s Claim for Punitive

   Damages and Bifurcate Equitable Claims at 5-7. Only evidence and argument relevant to the

   issues to be tried during the first phase should be permitted during the first phase.

          This is especially the case with TXMD’s claim in Count VI, which alleges that Evofem’s

   trademark should be canceled on the grounds that Evofem allegedly committed fraud by



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   submitting an inaccurate or incomplete “Statement of Use” to the U.S. Patent & Trademark Office.

   See ECF No. 37 ¶¶ 93-122. These salacious (and unfounded) allegations are wholly irrelevant to

   the remaining claims in the litigation. TXMD’s attempt to present these issues to the jury is

   designed to create prejudice, through improper allegations of fraud, which are not for the jury to

   decide. The evidence and argument, therefore, should be excluded from the jury phase pursuant

   to Rule 403. See Chrysler Intern. Corp. v. Chemaly, 280 F.3d 1358, 1363-64 (11th Cir. 2002)

   (excluding evidence of fraud unrelated to claims to be decided by jury);

                                           CONCLUSION

          In sum, Evofem respectfully requests that the Court grant this motion in full, and exclude:

          1.      Testimony from TherapeuticsMD’s (“TXMD”) Witnesses on Purported Confusion;

          2.      Testimony from TXMD’s Witnesses on Alleged Witness Intimidation;

          3.      Evidence on Any Damages other than Corrective Advertising;

          4.      Reference to an Unrelated Employment Suit styled Kitchens-Beatty v. Evofem;

          5.      Testimony from Sam Desai on Elements of Trademark Infringement;

          6.      Evidence or Argument on Punitive Damages or Equitable Claims.



                                                Respectfully submitted,



                                 [SIGNATURES ON NEXT PAGE]




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                        CERTIFICATE OF SERVICE AND CONFERENCE

           I hereby certify that a true and correct copy of the foregoing was served by Notice of

   Electronic Filing generated by CM/ECF, on March 28, 2022, on all counsel or parties of record

   on the Service List below. I further certify that I conferred with counsel for Defendants, including

   via zoom on March 23, 2022, in a good faith effort to resolve the issues raised in the motion and

   was been unable to do so.

                                                           /s/ Kevin C. Kaplan
                                                           Kevin C. Kaplan


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